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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

 Case No.        CV 21-6605 MWF (KESx)                                    Date: November 16, 2021
 Title       Emin Saakyan v. United States Postal Service, et al.


 Present: The Honorable:      MICHAEL W. FITZGERALD, United States District Judge
                    Rita Sanchez                                        Not Reported
                    Deputy Clerk                                  Court Reporter / Recorder

         Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                  Not Present                                        Not Present

 Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE

       A review of the docket in this action reflects that the Complaint was filed on
 August 16, 2021. (Docket No. 1). Pursuant to Federal Rules of Civil Procedure,
 Rule 4(m), the time to serve the Complaint expired on November 15, 2021.

       The Court ORDERS Plaintiff to show cause why this action should not be
 dismissed for lack of prosecution. In response to this Order to Show Cause, the
 Court will accept the following no later than DECEMBER 1, 2021.

          BY PLAINTIFF: PROOFS OF SERVICE of Summons and Complaint
           on Defendants.

                  AND/OR

          BY DEFENDANTS: RESPONSES TO THE COMPLAINT
           (“Response”). The parties may also file an appropriate stipulation to
           extend the time within which Defendants must respond to the Complaint.

                  OR

          BY PLAINTIFF: APPLICATIONS FOR CLERK TO ENTER
           DEFAULT.

       No oral argument on this matter will be heard unless otherwise ordered by
 the Court. See Fed. R. Civ. P. 78; Local Rule 7-15. The Order will stand


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 submitted upon the filing of the response to the Order to Show Cause. Failure to
 respond to the Order to Show Cause by DECEMBER 1, 2021 will result in the
 dismissal of this action.

         IT IS SO ORDERED.

                                                                    Initials of Preparer: RS/sjm




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